               Case 2:17-cr-00215-TSZ Document 21 Filed 11/08/17 Page 1 of 3




 I                                                                         The Hon. Thomas S.             Zilly
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 7                         UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
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l0
       UNITED STATES OF AMERICA,                              No. CRl7-2i5-TSZ
ll                             Plaintiff,
t2
l3                                                            FORFEITURE
                                                              BILL OF PARTICULARS
t4     TROY R. JOHNSON,
l5
                              Defendants.
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t7
18

l9          The United States, by and through its undersigned counsel, files this Forfeiture

20   Bill of Particulars pursuant to Fed. R. Crim.   P.   1(f) and 32.2(a) to further specify the
2t property it intends to forfeit in this case. The United States has already given notice, in
22   the Indictment it filed on September 6.,2017, that it intends to forfeit any and all property

23   that constitutes proceeds of the Defendant's offense, as well as any property used to

24   facilitate that offense (Dkt. No. l0). In the Indictment, the United States specifically
25   identified two firearms and all associated ammunition for forfeiture (1d.). Now, the
26   United States gives notice it also intends to forfeit a sum of currency seized from the
27   Defendant's residence at the time it was searched. The property subject to forfeiture in

28   this case now includes, but is not necessarily limited to:
      Forfeiture Bill ofParticulars - I                                        UNITED STATES ATTORNEY
                                                                              7OO STEWART STREET, SUITE   5220
      U.S. v. Troy R. Johnson, CRIT-211-TSZ
                                                                               SEATTLE, WASHTNCTON 98 1 O1
                                                                                      (206)s5l-7970
          Case 2:17-cr-00215-TSZ Document 21 Filed 11/08/17 Page 2 of 3




            I   )   One Kel-Tec Model P-32 .32 auto caliber pistol, serial number 06231, and

                    all associated ammunition;
           2)       One Savage Arms Model 73 .22 caliber short barrel rifle, serial number

                    C625355, and all associated ammunition; and,

           3)       $33,138.00 in U.S. cunency seized from the Defendant's residence in
                    Snohomish, Washington on August 24, 2017.



       DATED Ai"{auy               of November,2017.
                                                     Respectfully submitted,

                                                     ANNETTE L. HAYES
                                                     United States Attorney




                                                     MICTMLLE JENSEN
                                                     Assistant United States Attomey
                                                     United States Attomey's Office
                                                     700 Stewart Street, Suite 5220
                                                     Seattle, Washington 98 I 0l - 1 27 1
                                                     (206) s53-2242
                                                     Michelle.Jensen@usdoi.sov




Forfeiture Bill of Particulars - 2                                       T]NiTED STATES ATTORNEY
U.S. v. Troy R. Johnsoz, CRl T-215-TSZ                                   7OO STEWART STREET,   SI]IIE 5220
                                                                          SEAILE, WASHtNcToN      981   0l
                                                                                 (206\ 553-197O
               Case 2:17-cr-00215-TSZ Document 21 Filed 11/08/17 Page 3 of 3




 I                                    CERTIFICATE OF SERVICE
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 J          I hereby certify that on November      201 7,   I electronically filed the foregoing

 4 with the Clerk of the Court using the CM/ECF system, which automatically serves the
 5   parties of record.

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 8
                                                    ltw
                                                   MICHELLE JENSEN
 9                                                 Assistant United States Attomey
l0                                                 United States Attorney's Office
                                                   700 Stewart Street, Suite 5220
ll                                                 Seattle, WA 98101-1271
t2                                                 (206) 5s3-2242
                                                   Michelle.Jensen@usdoi.sov
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     Forfeiture Bill ofParticulars - 3                                  UNITED STATES ATTORNEY
                                                                       7OO STEWART STRTET, SUITE   5220
     U.S. v. Troy R. Johnson, CRl T-215-TSZ
                                                                        SEAITLE, WASHINGToN 98 I OI
                                                                               (2M) s53-7970
